         Case 21-03000-sgj Doc 16 Filed 01/11/21              Entered 01/11/21 11:45:54           Page 1 of 2




The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 11, 2021
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
                                                                  §
     In re:
                                                                  §   Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                  §   Case No. 19-34054-sgj11
                                                                  §
                                      Debtor.
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §
                                                                  §   Adversary Proceeding No.
     Plaintiff,
                                                                  §
                                                                  §   21-03000-sgj
     vs.
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT FUND
                                                                  §
     ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,
                                                                  §
     HIGHLAND INCOME FUND, NEXPOINT
     STRATEGIC OPPORTUNITIES FUND,
     NEXPOINT CAPITAL, INC., AND CLO
     HOLDCO, LTD.,

                                      Defendants.



     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



     DOCS_NY:41860.3 36027/002
 Case 21-03000-sgj Doc 16 Filed 01/11/21          Entered 01/11/21 11:45:54      Page 2 of 2




 ORDER GRANTING PLAINTIFF’S MOTION FOR EXPEDITED HEARING ON ITS
   EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER AND
 PRELIMINARY INJUNCTION AGAINST CERTAIN ENTITIES OWNED AND/OR
               CONTROLLED BY MR. JAMES DONDERO

       Having considered the Plaintiff’s Motion for Expedited Hearing on Its Emergency

Motion for a Temporary Restraining Order and Preliminary Injunction against Certain Entities

Owned and/or Controlled by Mr. James Dondero [Docket No. 8] (the “Motion to Expedite”) of

Highland Capital Management, L.P., the plaintiff in the above-captioned adversary proceeding

(the “Adversary Proceeding”) and the debtor and debtor-in-possession (the “Debtor” or

“Highland”) in the above-captioned chapter 11 case (“Bankruptcy Case”), seeking an expedited

hearing on its Emergency Motion for a Temporary Restraining Order and Preliminary Injunction

against Certain Entities Owned and/or Controlled by Mr. James Dondero [Docket No. 9] (the

“Motion”), the Court finds that good cause exists to grant the Debtor’s Motion to Expedite.

Accordingly, it is hereby ORDERED THAT:

       1.     The Motion to Expedite is GRANTED.

       2.     A hearing on the Motion shall be held on Wednesday, January 13, 2021 at 9:30

a.m. (Central Time) in the United States Bankruptcy Court for the Northern District of Texas,

1100 Commerce Street, 14th Floor, Dallas, Texas 75242.

       3.     The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

                                     ###End of Order###




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